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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

TAWANDA HALL; CAROLYN MILLER;
AMERICAN INTERNET GROUP, LLC;
ANTHONY AKANDE; CURTIS LEE;
CORETHA LEE; MARCUS BYERS; and
KRISTINA GOVAN; and all those similarly
situated in the City of Southfield,
                                          Case No.: 20-cv-12230-PDB-EAS
      Plaintiffs,                         Hon. Paul D. Borman
                                          Mag. Judge Elizabeth A. Stafford
vs.

OAKLAND COUNTY TREASURER
ANDREW MEISNER, in his official and individual
capacities; OAKLAND COUNTY; SOUTHFIELD
NEIGHBORHOOD REVITALIZATION
INITIATIVE, LLC; CITY OF SOUTHFIELD;
FREDERICK ZORN, in his official and individual
capacities; KEN SIVER, in his official and individual
capacities; SOUTHFIELD NON-PROFIT HOUSING
CORPORATION; HABITAT FOR HUMANITY
OF OAKLAND COUNTY, INC.; SUSAN
WARD-WITKOWSKI, in her former official and individual
capacities, GERALD WITKOWSKI, in his official and individual
capacities, TREASURER IRVIN LOWENBERG, in his official
and individual capacities; MITCHELL SIMON; and E’TOILE LIBBETT,

      Defendants.


                       EXHIBIT LIST TO
        DEFENDANTS, SOUTHFIELD NON-PROFIT HOUSING
 CORPORATION, SOUTHFIELD NEIGHBORHOOD REVITALIZATION
   INITIATIVE, LLC, MITCHELL SIMON AND E’TOILE LIBBETT’S
     BRIEF IN SUPPORT OF MOTION TO DISMISS COMPLAINT


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Exhibit 1:   Operating Agreement of Southfield Neighborhood Revitalization
             Initiative, LLC.

Exhibit 2:   Anderson v. Co. of Wayne, No. 10-13708, 2011 WL 2470467 (E.D.
             Mich., June 20, 2011)

Exhibit 3:   Order on Motion for Summary Disposition
             Hayes, et al. v. Oakland County Treasurer’s Office, et al.
             Oakland County Circuit Court Case No. 2017-157366-CZ

Exhibit 4:   Verified Petition for Reinstatement of Tile
             Debbie Byers v. Oakland County Treasurer, et al.
             Oakland County Circuit Court Case No. 2019-172083-CZ

Exhibit 5:   Opinion and Order Granting Summary Disposition
             Debbie Byers v. Oakland County Treasurer, et al.
             Oakland County Circuit Court Case No. 2019-172083-CZ

Exhibit 6:   Debbie Byers Appeal Packet
             Debbie Byers v. Oakland County Treasurer, et al.
             Michigan Court of Appeals Case No. 350277

Exhibit 7:   Order Denying Appeal
             Debbie Byers v. Oakland County Treasurer, et al.
             Michigan Court of Appeals Case No. 350277

Exhibit 8:   Adversary Complaint
             In re Debbie S. Byers, Case No. 20-48373-mar, ECF No. 48
             Debbie S. Byers v. [SNRI and OCT], Adversary Case No. 20-04385-
             mar, ECF No. 1.

Exhibit 9:   Deed to 21666 Hidden Rivers Drive
             Liber: 40534, Page: 530, Oakland County Records.

Exhibit 10: Judgment of Divorce
            Debbie Sue Byers v. Marcus Maurice Byers, Sr.
            Oakland County Circuit Court Case No. 16-842430-DO.

Exhibit 11: Rafaeli, LLC v. Oakland Co.
            No. 156849, 2020 WL 4037642 (Mich., July 17, 2020)
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